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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF KENTUCKY
                        COVINGTON DIVISION

 State of Tennessee; Commonwealth
 of Kentucky; State of Ohio; State of
 Indiana; Commonwealth of Virginia;
 and State of West Virginia,

             Plaintiffs,

 and

 Christian Educators Association            Case No. 2:24-cv-00072-DCR-CJS
 International; A.C., by her next friend
 and mother, Abigail Cross,                 District Judge Danny C. Reeves
                                            Magistrate Judge Candace J. Smith
             Intervenor-Plaintiffs,

       v.

 Miguel Cardona, in his official capacity
 as Secretary of Education; and United
 States Department of Education,

             Defendants.


        INTERVENOR-PLAINTIFFS’ MEMORANDUM IN SUPPORT
              OF MOTION FOR SUMMARY JUDGMENT
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                                 INTRODUCTION

      In April 2024, the Department of Education sidestepped Congress and

issued a sweeping new Title IX rule that tried to reshape America’s educational

system to reflect the Department’s gender ideology. Since then, this Court and four

others quickly enjoined the Rule; two appellate courts affirmed the scope of those

injunctions; another court rejected the Rule’s core logic by vacating the

Department’s Title IX guidance documents; and three courts rejected the Rule’s

unlawful Title IX interpretation when applied to Section 1557 of the Affordable

Care Act.1 All these courts got it right. This Court should now follow its prior

decision and vacate the Department’s unlawful Title IX rule nationwide, protecting
the privacy and First Amendment rights of students and staff across the country.

                            STATEMENT OF FACTS

      Title IX. In 1972, Congress enacted Title IX, which forbids education

programs receiving federal financial assistance from discriminating “on the basis of
sex.” Educ. Amends. of 1972, Pub. L. 92–318, title IX, § 901, June 23, 1972, 86 Stat.
373 (now codified at 20 U.S.C. § 1681 et seq.). Congress did so after “years of
intense legislative debate premised on the fixed biological dichotomy between


1 ECF No. 100 at 14; ECF No. 123 at 9; Louisiana v. Dep’t of Educ., No. 3-23-CV-

00563, 2024 WL 2978786, at *21 (W.D. La. May 13, 2024), stay denied No. 24-
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2024); Carroll Indep. Sch. Dist. v. Dep’t of Educ., No. 4:24-cv-00461-O, 2024 WL
3381901, at *7 (N.D. Tex. July 11, 2024); Tennessee v. Dep’t of Educ., 104 F.4th
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Human Servs., No. 8:24-cv-1080, 2024 U.S. Dist. LEXIS 117619, *20-21 (M.D. Fla.
July 3, 2024); Tennessee v. Becerra, No. 1:24cv161-LG-BWR, 2024 WL 3283887, *14
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3297147, at *12 (E.D. Tex. July 3, 2024).


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males and females[.]” ECF No. 100 at 6; see id. at 2–8 (discussing legislative

history).

      In its five decades, Title IX has produced striking results. Before Title IX in

1970, only 66% of working women had high-school diplomas; in 2016, it was 94%. 2

In 1972, only 7% of high-school varsity athletes were women; by 2018, it was 43%. 3

Girls now benefit from opportunities to pursue advanced education, attend college,

and develop skills associated with competitive athletics.

      Title IX recognizes the “enduring” “differences between men and women.”

United States v. Virginia, 518 U.S. 515, 533 (1996) (VMI). The statute does not

“requir[e] integration of dormitories between the sexes” or mandate co-ed locker

rooms or football teams. 117 Cong. Rec. 30,407 (1971) (Sen. Bayh). The statute

repeatedly describes sex in biological and binary terms. It permits schools to go

from admitting “students of one sex” to “students of both sexes.” 20 U.S.C.

§ 1681(a)(2). It exempts “father-son or mother-daughter activities,” while requiring

that “if such activities are provided for students of one sex, opportunities for

reasonably comparable activities shall be provided for students of the other sex.”

Id. § 1681(a)(8). And Title IX must be construed to allow “separate living facilities

for the different sexes.” Id. § 1686. This construction rule requires respect for

“personal privacy.” 118 Cong. Rec. 5807 (1972) (Sen. Bayh). In short, “sex” in 1972

meant male or female.

      Three years later, the Department’s predecessor promulgated regulations

that “required” schools “to provide separate teams for men and women in situations

where the provision of only one team would not ‘accommodate the interests and



2 U.S. Bureau of Labor Statistics, A look at women’s education and earnings since

the 1970s, TED: The Economics Daily (Dec. 27, 2017), https://perma.cc/B2C8-47QB.
3 Women’s Sports Found., 50 Years of Title IX at 12 (May 2022),

https://perma.cc/TN74-PJ4S.



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abilities of members of both sexes.’ ” Nondiscrimination on the Basis of Sex, 40 Fed.

Reg. 24,128, 24,134 (June 4, 1975) (now codified at 34 C.F.R. § 106.41(c)(1)).

      The New Rule. Now, the Department says Title IX also covers gender-

identity discrimination, citing Bostock v. Clayton County, 590 U.S. 644 (2020), as

justification. Nondiscrimination on the Basis of Sex in Education Programs or

Activities Receiving Federal Financial Assistance, 89 Fed. Reg. 33,474 (April 29,

2024). The Rule imposes a gender-identity mandate through two key provisions.

      First, it states that “[d]iscrimination on the basis of sex includes

discrimination on the basis of sex stereotypes … and gender identity.” 89 Fed. Reg.

at 33,886 (to be codified at 34 C.F.R. § 106.10). “[S]ex discrimination,” the

Department says, is “any discrimination that depends” even “in part on

consideration of a person’s sex.” Id. at 33,803. So Title IX applies to any

consideration of gender identity because that “necessarily involves consideration of

a person’s sex, even if [the word “sex”] is understood to mean only physiological or

‘biological distinctions between male and female,’ as the Supreme Court assumed

in Bostock.” Id. at 33,802 (citation omitted).

      Second, the Rule creates a new form of sex-based discrimination applicable

only based on gender identity. 89 Fed. Reg. at 89,887 (to be codified at 34 C.F.R.

§ 106.31(a)(2)). To do so, the Department crafted a new “de minimis harm”

standard that permits certain sex distinctions and forbids others depending on

whether, in the Department’s view, the distinction causes more than de minimis

harm. Id. at 33,887 (to be codified at 34 C.F.R. § 106.31(a)(2)). And under the Rule,

any policy or “practice that prevents a person from participating in an education

program or activity consistent with the person’s gender identity” causes more than

de minimis harm. Id.

      Together, sections 106.10 and 106.31(a)(2) create the Rule’s gender-identity

mandate: while “sex separation … is not presumptively unlawful,” sex distinctions



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cannot deny “a transgender student access to a sex-separate facility or activity

consistent with that student’s gender identity[.]” 89 Fed. Reg. at 33,818. To account

for the statute’s numerous provisions allowing consideration of sex, the Rule carves

out specific exceptions. The Rule allows sex-based distinctions (based on biology,

not gender identity) to ensure sex-specific “living facilities”—understood to mean

only “housing,” 34 C.F.R. § 106.32(a), not locker rooms and showers, id. § 106.33.

The Rule also tries to exempt things like sororities and fraternities, girl and boy

scouts, 20 U.S.C. § 1681(a)(1)–(9), and “separate [athletics] teams for members of

each sex,” 34 C.F.R. § 106.41(b).

      The Rule also imposes a “broader standard” for hostile-environment claims.

89 Fed. Reg. at 33,498. Harassment now need only be severe or pervasive.

Complainants need not “demonstrate any particular harm,” or show the conduct

denied them access to the educational program. Id. at 33,511. Harassment can be

anything students deem “unwelcome” or that “limits” students’ access to a benefit.

Id. at 33,884 (to be codified at 34 C.F.R. § 106.2). The Department recognizes that

this standard is “broader” than the Supreme Court’s Title IX interpretation in

Davis ex rel. LaShonda D. v. Monroe County Board of Education, 526 U.S. 629, 641

(1999). Id. at 33,498. Combined with § 106.10, § 106.2 now requires students and

staff to endorse gender-identity ideology by using pronouns based on gender

identity (not sex) and by restricting speech saying sex is a binary concept.

      Intervenors. A.C. is a female athlete and high-school student in West

Virginia. App. to Int.-Pls.’ Br. in Supp. of their Mot. for Summ. J (App.), 002, A.C.

¶¶ 1–2 (“A.C.”). She throws shot put and discus, runs the 4 x 100 relay, and plays

in the marching band. App. 002, 011, ¶¶ 2, 63. When A.C. was in middle school, a

boy who identified as a girl named B.P.J. competed on her school track team. App.

003, ¶¶ 7–8. B.P.J. regularly beat A.C. and other girls. App. 003–007, ¶¶ 9–35. So

far, B.P.J. has displaced nearly 300 girls in over 700 individual instances. App.



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108, Rouleau Supp. B.P.J. changed in the girls’ locker room and sexually harassed

A.C. and her teammates. App. 007–010, A.C. ¶¶ 40–49, 51–61. A.C. does not want

to compete against or share private spaces with any boy, no matter how they

identify. App. 006, 008–009, 011–012, ¶¶ 28, 48-50, 63–69. But the new rules

purport to preempt a West Virginia law that prohibits males from competing on

women’s sports teams. W. Va. Code § 18-2-25d.

      Christian Educators Association International (“Christian Educators”) is a

membership organization for Christian educators. App. 015, Schmus ¶¶ 4–7. Some

of its members want to express their religious belief that sex is an immutable

characteristic. See generally, App. 038, Keaton; App. 046, McKay; App. 054, Moore;

App. 060, Taylor; App. 067, Winkler; App. 076, Parker; App. 083, Field. Many of

these members have received requests to use pronouns reflecting gender identity,

not sex, and they fear the new Rule will compel them to speak these words while

prohibiting them from expressing their religious beliefs. Id. Some members also

fear that their schools will open shared restrooms to the opposite sex or force them

to share intimate spaces like hotel rooms with the opposite sex. App. 034–035,

Campbell ¶¶ 28–32; App. 064–065, Taylor ¶¶ 39–47; App. 073, Winkler ¶¶ 43–45;

App. 080, Parker ¶¶ 29–31. Christian Educators seeks to protect its members’

constitutional and statutory rights to speak, use sex-based pronouns, and access

single-sex restrooms. App. 025, 026–027, Schmus ¶¶ 70, 79–81; see Tenn. Code

Ann. § 49-6-5102(b)(1) (pronouns); Tenn. Code Ann. § 49-2-805(a) (restrooms); Ken.

Rev. Stat. § 158.191(5) (pronouns).

      Procedural History. After this Court allowed A.C. and Christian Educators

to intervene, ECF No. 50, Intervenors, and the Plaintiff States each sought to stay

the Rule’s August 1 effective date and to preliminarily enjoin the Rule’s

enforcement. ECF No. 19, No. 63. The Court granted the motions, staying and




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enjoining the Department from enforcing the Rule within Indiana, Kentucky, Ohio,

Tennessee, Virginia, and West Virginia. ECF No. 100 at 14.

                                   ARGUMENT

      Summary judgment is appropriate when “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56. In an APA case, “‘the entire case on review is a question of law, and

only a question of law,’ to be based on the administrative record[.]” Chamber of

Com. of U.S. v. SEC, 670 F. Supp. 3d 537, 551 (M.D. Tenn. 2023) (cleaned up).

When agency action is “contrary to [law],” the reviewing court must “hold [it]

unlawful and set [it] aside.” 5 U.S.C. § 706. Here, the Final Rule is both contrary to

law and arbitrary and capricious because it contradicts Title IX and violates the

First Amendment and the fundamental right to bodily privacy. As a result, this

Court should vacate the Final Rule and enjoin its enforcement.

I.    The Rule’s gender-identity mandate contradicts Title IX.

      A.     The Rule’s new definition of “sex-based discrimination” in 34
             C.F.R. § 106.10 is contrary to law, arbitrary, and capricious.
      1. While the Rule assumes that “sex” means biological differences, it refuses

to define the term. 89 Fed. Reg. at 33,802. That alone makes the Rule arbitrary

and capricious. As this Court has explained, “the term [“sex”] ordinarily was

understood [in 1972] to mean the character of being either male or female,” and

that is its unambiguous meaning in Title IX. ECF No. 100 at 18–20 (cleaned up).

Numerous other courts agree. See supra n.1.

      Yet the Rule declares that “[d]iscrimination on the basis of sex includes

discrimination on the basis of sex stereotypes, sex characteristics, pregnancy or

related conditions, sexual orientation, and gender identity.” 89 Fed. Reg. at 33,886

(to be codified at 34 C.F.R. § 106.10). To justify this new definition, the Department




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contends that “on the basis of sex” means the same thing as “because of such

individual’s … sex,” so Bostock’s logic must apply to Title IX. ECF No. 91 at 5. See

89 Fed. Reg. at 33,807; see also id. at 33,803 (“the bases in § 106.10 [are] examples

to clarify the scope of Title IX’s coverage of sex discrimination, which includes any

discrimination that depends in part on consideration of a person’s sex.”). But as the

Sixth Circuit recently explained in this very case, Bostock’s logic applies to Title

VII, not Title IX. ECF No. 123 at 5. That is correct for many reasons.

      First, “the statutes use materially different language.” Id. While Title VII

forbids discrimination “because of such individual’s” sex, Title IX says “no person”

shall be subject to discrimination “on the basis of sex.” 20 U.S.C. § 1681(a). This

general language differs from Title VII’s “victim-centric” focus on individuals. ECF.

117 at 6-7. Other courts have noted similar textual distinctions. See Texas, 2024

WL 2947022, at *31 (Title IX’s general “subjected to discrimination” language

“suggests a negative distinction or differential treatment for the wrong reasons”);

M.K. ex rel. Koepp v. Pearl River Cnty. Sch. Dist., No. 1:22-cv-25-HSO-BWR, 2023

WL 8851661, at *8 (S.D. Miss. Dec. 21, 2023) (indefinite article “the—indicates that

the basis of the discrimination [in Title IX] must be the student’s sex.”).

      Importantly, Title IX forbids only sex-based discrimination in “any education

program” (like classrooms and sports), whereas Title VII forbids discrimination

directed against any individual based on various traits “with respect to …

employment.” So Title IX’s text contemplates unique aspects of sex-based

distinctions in unique educational spaces (such as sports). In contrast, Title VII

treats an individual’s sex in employment like race and religion, where none of these

factors are “relevant.” Bostock, 590 U.S. at 660.

      The textual differences don’t stop there. Title IX includes a construction rule

that forecloses applying Bostock to Title IX. 20 U.S.C. § 1686 (Title IX’s core

antidiscrimination rule cannot “be construed” to prohibit “maintaining separate



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living facilities for the different sexes”). Even the Department recognizes it cannot

impose its gender-identity mandate on school “housing.” See 89 Fed. Reg. at 33,821

(recognizing Rule’s gender-identity mandate cannot apply to “living facilities” or

the “the Department’s housing provision at [34 C.F.R.] § 106.32(b)(1)”).

      Finally, § 106.10 does not merely explain what the Department understands

“sex” to mean in light of Bostock’s but-for-causation logic; § 106.10 defines “sex-

based discrimination.” Contra 89 Fed. Reg. at 33,803. Redefining Title IX’s core

rule by referencing additional attributes contradicts the statute.

      Second, and independently, Title IX often applies to the two sexes as groups.

Unlike Bostock’s Title VII assessment, Title IX does operate by “ensur[ing] equal

treatment between groups of men and women,” Bostock, 590 U.S. at 671, or, put

differently, “achiev[ing] classwide equality between the sexes[,]” id. at 664.

      In provision after provision, Title IX and longstanding regulations allow

schools to “treat[] males and females comparably as groups.” Id. at 665 (rejecting

this reading of Title VII). The statute exempts “father-son or mother-daughter

activities” so long as “opportunities for reasonably comparable activities [are]

provided for students of [both sexes].” 20 U.S.C. § 1681(a)(8). Schools “may provide

separate housing on the basis of sex,” but the housing for each sex must be

“[c]omparable in quality and cost to the student.” 34 C.F.R. § 106.32(b)(ii); see also

id. § 106.32(c)(2) (similar). “[T]oilet, locker room, and shower facilities” must

likewise be comparable as between the two sexes. 34 C.F.R. § 106.33. The list goes

on. See, e.g., id. at § 106.31(c) (school assisting with foreign scholarships available

to only one sex must “make[] available reasonable opportunities for similar studies

for members of the other sex”); id. at § 106.34(b)(2) (when school provides

permissible “single-sex class or extracurricular activity,” it “may be required to

provide a substantially equal [opportunity] for students of the excluded sex”); id.

§ 106.37(c) (athletic scholarships require “reasonable opportunities … for members



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of each sex in proportion to the number of students of each sex participating …”).

And, importantly, schools must “provide equal athletic opportunity for members of

both sexes,” id. § 106.41(c), but need not provide exactly the same sports or teams

to boys and girls, id. § 106.41(b); cf. Nondiscrimination on the Basis of Sex in

Education Programs or Activities Receiving Federal Financial Assistance, 87 Fed.

Reg. 41,390, 41,462 (July 12, 2022) (explaining that Title IX complaints frequently

involve “analysis of available data and information” pertaining to “equal

opportunity” for males and females as groups).

      Even the Rule recognizes this difference sometimes, allowing the

Department to issue athletic regulations that deprive students of opportunities

based on sex if “the regulations are otherwise reasonable and require a recipient to

provide equal athletics opportunities in its program as a whole.” 87 Fed. Reg. at

41,538; see 89 Fed. Reg. at 33,818 (adopting this rationale). The Rule distinguishes

athletics because prior regulations “have always permitted” sex distinctions there

based on “unique considerations.” 89 Fed. Reg. at 33,819. But even longstanding

regulations cannot alter Title IX’s text. If Title IX itself does not allow sex-based

distinctions, an agency could not permit them itself. But Title IX does allow such

distinctions: the athletics regulations (like the others adopted in 1975) show that

Title IX is not blind to sex. Unlike Bostock’s understanding of Title VII, Title IX

calls for schools to “treat[] males and females comparably as groups[,]” 590 U.S. at

665, when it comes to matters of privacy and physical differences.

      2. Even if Bostock’s but-for-causation rationale applies to Title IX, the Rule

goes too far in defining “sex-based discrimination” to include considerations like

“sex stereotypes,” “gender identity” and “sex characteristics.” Multiple courts have

recognized that Bostock did not create any new protected classes. Texas v. EEOC,

633 F. Supp. 3d 824, 831 (N.D. Tex. 2022); Stollings v. Texas Tech Univ., No. 5:20-

CV-250-H, 2021 WL 3748964, at *10 (N.D. Tex. Aug. 25, 2021); accord Texas, 2024



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WL 2947022, at *31 (“As the text makes plain, sexual orientation and gender

identity are statuses,” not protected classes).

      But the Rule’s new definition does just that, elevating “gender identity” and

other characteristics to protected-class status under Title IX. As this Court

explained, “[b]y preceding these new classifications with ‘on the basis of,’ a plain

reading of § 106.10 coupled with the Department’s Bostock interpretation would

necessarily lead to the conclusion that Title IX also prohibits all things

‘inextricably bound up’ with “sex stereotypes, sex characteristics, pregnancy or

related conditions, sexual orientation, and gender identity.” ECF No. 117 at 10. 4 By
elevating gender identity to the same level as sex, the Rule tries to create a new

protected class. That is contrary to law even under Bostock.

      3. Title IX is clear, but the Rule would fail even if Title IX were ambiguous.

When “competing plausible interpretations” exist, Clark v. Martinez, 543 U.S. 371,

381 (2005), courts should construe a statute “to avoid not only the conclusion that

it is unconstitutional but also grave doubts upon that score,” Almendarez-Torres v.

United States, 523 U.S. 224, 237 (1998) (cleaned up). And Congress must use

“exceedingly clear language if it wishes to significantly alter the balance between

federal and state power[.]” Sackett v. EPA, 598 U.S. 651, 679 (2023) (cleaned up).

When Congress enacts statutes based on its spending power, “Congress must speak

with a clear voice before it imposes new mandates on the States.” Tennessee v.

Cardona, No. 24-5588, 2024 WL 3453880, at *3 (6th Cir. July 17, 2024). 5

4 In fact, the Department has been trying to create this new class for nearly a

decade. See, e.g., Dep’t of Justice & Dep’t of Educ., Dear Colleague Letter on
Transgender Students (May 13, 2016) (declaring Department will “treat a student’s
gender identity as the student’s sex[.]”); G.G. ex rel. Grimm v. Gloucester Cnty. Sch.
Bd., 822 F.3d 709, 720 (4th Cir. 2016) (adopting Auer deference based on claimed
ambiguity in “how a school should determine whether a transgender individual is a
male or female[.]”).
5 Relatedly, Congress could not have intended to delegate the important question

about the meaning of sex discrimination to unelected bureaucrats. So the



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      The Rule’s gender-identity mandate is not “unmistakably clear in the

language of [Title IX].” Gregory v. Ashcroft, 501 U.S. 452, 460 (1991) (cleaned up).

In 1972, no one understood “discrimination on the basis of sex” to require schools to

ignore sex in favor of gender identity. See Adams ex rel. Kasper v. Sch. Bd. of St.

Johns Cnty., 57 F.4th 791, 815 (11th Cir. 2022) (en banc). Indeed, both Title IX’s

construction rule and longstanding regulations have recognized sex-specific privacy

interests for fifty years. 20 U.S.C. § 1686; e.g., 34 C.F.R. § 106.33.

      This, too, distinguishes Bostock, which did not confront the clear-statement

rule or the major-questions doctrine because Bostock did not involve spending-

clause legislation or agency action. In fact, Bostock admitted “many, maybe most,

applications of Title VII’s sex provision were ‘unanticipated’ at the time of the law’s

adoption.” Bostock, 590 U.S. at 679; see id. at 649 (“unexpected consequences”), 660

(calling its holding “momentous”). “Bostock’s holding cannot be reconciled with an

argument that Congress spoke clearly on this ‘unexpected’ condition Defendants

ask the Court to read into Title IX.” Texas, 2024 WL 2947022, at *42.

      The Department has argued (ECF No. 73 at 19) that Congress merely needs

to “make the existence of the condition itself ” “explicitly obvious.” But that raises

the generality level too high. It is not enough to “unambiguously notify” recipients

that conditions exist; recipients must have clear notice of what conditions require.

Sossamon v. Texas, 563 U.S. 277, 283 (2011). For example, a statute allowing

“reasonable attorneys’ fees as part of the costs” created a funding condition; but it

still did not give clear notice that recipients must pay an opposing party’s expert

fees. Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006).

Similarly, a statute that forbade using funds to “directly or indirectly offset a

reduction in [a State’s] net tax revenue” created a condition; but it still did not give

Department’s reading of Title IX also violates the major-questions doctrine. See
infra at 15–16.



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clear notice because the statute “le[ft] the [recipients] in the dark about when [the

agency] may deem them to have violated the [condition].” Kentucky v. Yellen, 54

F.4th 325, 328 (6th Cir. 2022).

      The Rule also exceeds Congress’s spending power, which occurs when

“pressure turns into compulsion.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S.

519, 577–78 (2012) (NFIB) (opinion of Roberts, C.J.) (cleaned up). And compulsion

characterizes the Rule. The Plaintiff States here have “no real option but to

acquiesce,” Id. at 582, as demonstrated by their high compliance costs and

potential funding loss. ECF No. 100 at 79–86.

      4. The Rule’s expanded definition of sex-based discrimination is also

arbitrary and capricious. “[I]t is arbitrary to rely on Bostock’s reasoning as a source

of support for upending” the meaning of “on the basis of sex,” 20 U.S.C. § 1681(a),

“when the text, structure, purpose, and history of the statutes vary considerably.”

ECF 100 at 68. The Department tries to counter that Bostock and its but-for-

causation test only identify bases of discrimination. But elsewhere, the Department

says Bostock controls applications too, requiring gender identity to control

bathrooms, locker rooms, and sports-team access. See supra 3–4. The Department

can’t have it both ways. If the Department has changed its mind about how Bostock

applies to Title IX, it must say so and explain why. Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 221 (2016) (agency must “display awareness that it is

changing position”). Failure to do so is “arbitrary and capricious.” See id. at 222.

      Similarly, the Department acts arbitrarily by denying § 106.10’s effect on

sex-specific private spaces and athletics. That “entirely fail[s] to consider [these]

important aspect[s] of the problem[.]” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Specifically, the Rule

admits that the Title IX athletic regulations require equal treatment for groups,

but the Rule never explains why it elsewhere demands sex-blindness for



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individuals. Nor does the Rule acknowledge the many other provisions that focus

on group equality. See supra 8. Regulated parties are left to square the circle about

why or how Bostock can be transplanted into Title IX. That lacks reason.

      Finally, the Rule wrongly equates sex with “sex stereotypes” in its new

definition. The Department doesn’t dispute that sex does not mean “sex

stereotypes,” and that “recognizing and respecting biological sex differences does

not amount to stereotyping.” ECF 100 at 24 (quoting L.W. ex rel. Williams v.

Skrmetti, 83 F.4th 460, 486 (6th Cir. 2023)); accord Adams, 57 F.4th 791, 809–810.

But the Rule fails to explain why it treats “sex stereotypes” the same as “sex.”

      B.     The Rule’s new de-minimis harm provision in 34 C.F.R.
             § 106.31(a)(2) is contrary to law, arbitrary, and capricious.
      As this Court has explained, “[t]he truth is that the two sexes are not

fungible.” ECF No. 100 at 2 (cleaned up). Title IX recognizes as much. “The

drafters of Title IX recognized that “safeguarding … equal educational

opportunities for men and women necessarily requires differentiation and

separation’ of the sexes at times.” Id. at 19 (quoting Texas, 2024 WL 2947022, at

*32)). The upshot: Title IX’s respect for longstanding sex distinctions contradicts

the Rule’s equating these distinctions to “discrimination” causing “more than de

minimis harm.” 89 Fed. Reg. at 33,887. Yet the Department has created a new

form of disparate-impact discrimination that allows gender identity to trump sex,

making these long-recognized sex distinctions unlawful. This is contrary to law.

      1. Section 106.31(a)(2)’s new form of discrimination subverts Title IX’s sex-

based protections and is “arbitrary in the truest sense of the word.” ECF No. 100 at

90. First, the new de-minimis-harm language appears nowhere in Title IX’s text.

Second, the new provision’s reasoning is circular: “more than de minimis harm” is

“legally cognizable injury,” 89 Fed. Reg. at 33,814, and an injury is cognizable

under Title IX if it “impose[s] more than de minimis harm,” id. at 33,811. Third,



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the Rule makes “more than de minimis harm” discrimination available based on

gender identity alone. Id. at 33,887. Only in that context are sex-based distinctions

per se illegal—except when they aren’t. The de-minimis-harm provision, after all,

allows sex and gender-identity distinctions for Title IX’s statutory exemptions,

“living facilities,” and athletics. Id. None of that makes sense.

      Fourth and perhaps most problematic, the Department’s new form of

discrimination elevates gender identity above sex. For example, take a boy who

identifies as male but wants to use the female restroom because it is much more

convenient. He unquestionably is excluded based on sex and suffers an injury. See

ECF 117 at 8. But Title IX allows it to protect girls’ privacy. Under the new Rule

too, that harm is “de minimis.” E.g., 89 Fed. Reg. at 33,820.

      Now assume the same boy identified as a girl. Same policy. Same exclusion.

Same privacy interests. Yet for the Department, a different injury. While a sex-

based exclusion to protect privacy is de minimis, a sex-based exclusion applied to

someone who happens to identify as transgender is more than de minimis. That

“add[s] words” and “impose[s] a new requirement” that Title IX does not. Muldrow

v. City of St. Louis, 144 S. Ct. 967, 974 (2024). And far from employing an “objective

standard,” the Rule says harm is cognizable only if it implicates a person’s

“subjective, deep-core sense of self.” Compare 89 Fed. Reg. at 33,815, with id. at

33,809; see also Muldrow, 144 S. Ct. at 974–75 (explaining elevated harm showing

leads to subjective evaluations of what counts as “significant”). Nothing in Title

IX’s text distinguishes between sex-based exclusions “causing significant

disadvantages and [sex-based exclusions] causing not-so-significant ones.”

Muldrow, 144 S. Ct. at 974.

      To make matters worse, this result undermines Title IX’s very purpose: to

alleviate “discrimination against women in education.” Neal v. Bd. of Trs. of Cal.

State Univs., 198 F.3d 763, 766 (9th Cir. 1999). By having gender identity trump



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sex-based privacy protections, the new standard makes it impossible for students

and particularly female students to “participat[e] in” or receive “the benefits of”

educational programs. 20 U.S.C. § 1681. But courts should prefer “textually

permissible interpretation[s] that further[] rather than obstruct[] the document’s

purpose …” Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of

Legal Texts 63 (2012) (explaining presumption-against-ineffectiveness canon); see

also Samuel L. Bray, The Mischief Rule, 109 Geo. L.J. 967, 968–76 (2021)

(explaining how textualists can consider “the problem to which the statute was

addressed, and also the way in which the statute is a remedy for that problem.”);

John F. Manning, What Divides Textualists from Purposivists?, 106 Colum. L. Rev.

70 (2006) (“[T]extualists recognize that the relevant context for a statutory text

includes the mischiefs the authors were addressing.”). The de-minimis-harm

standard falters at this most basic level.

      Fifth, the Rule’s de-minimis-harm standard creates absurd results. Under

the Rule’s logic, Congress intended schools to sometimes impose more than de

minimis harm. 89 Fed. Reg. at 33,818 (explaining that statutory carveouts allow

“sex-specific policies and practices … that may cause more than de minimis harm to
a protected individual”). That “throwaway reasoning” would mean Congress cared

more about sex designating “Boy Scouts or Girl Scouts” than privacy in female-only

showers and locker rooms. ECF 100 at 25. That cannot be right and goes entirely

unexplained. All this underscores that the new de-minimis harm standard

contradicts not just Title IX’s text, purpose, and structure but common sense too.

      2. The Rule’s new form of sex-based discrimination also violates the clear-

statement rule, contravenes the major-questions doctrine, and exceeds Congress’s

spending power. See supra at 10–12 (summarizing these doctrines).

      First, the new type of “sex-based discrimination” is not “unmistakably clear

in the language of [Title IX].” Gregory, 501 U.S. at 460. And second, it imposes



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sweeping new requirements on schools, which must refer to “gender identity”

instead of sex in all manner of formerly sex-specific circumstances. But courts

“presume that Congress intends to make major policy decisions itself, not leave

those decisions to agencies.” West Virginia v. EPA, 597 U.S. 697, 723 (2022)

(cleaned up). So even apart from Spending Clause problems, the Rule would be

unlawful. Like HHS’s nationwide eviction ban, the Labor Department’s nationwide

vaccine mandate, or the EPA’s attempt to restructure the nation’s energy industry,

imposing a novel gender-identity mandate on all schools is a matter of “staggering”

“economic and political significance” for which Congress has given the Department

no clear authority. Biden v. Nebraska, 143 S. Ct. 2355, 2373 (2023) (cleaned up).

Our nation has engaged in a sustained debate about allowing men to access

women’s sports and private spaces. E.g., Adams, 57 F.4th 791. Congress would not

hide this extremely controversial public-policy question in Title IX without making

itself clear. Meanwhile, this question’s economic significance is also

massive―subjecting schools nationwide to losing billions in federal funding. ED

cannot adopt this major policy change by administrative fiat.

      3. The Rule’s de-minimis-harm proviso also violates students’ and staff’s

constitutional and statutory privacy rights. As this Court recognized, “students of

both sexes would experience violations of their bodily privacy by students of a

different sex if the Final Rule became effective.” ECF No. 100 at 74. Thus, the Rule

violates students’ fundamental right “to be free from forced exposure of one’s

person to strangers of the opposite sex.” Kent v. Johnson, 821 F.2d 1220, 1226 (6th

Cir. 1987). See also ECF 63-1 at 21-22 (explaining point).

      Because being undressed before the opposite sex is “especially demeaning

and humiliating,” even prisoners can’t be forced to do it. Everson v. Mich. Dep’t of

Corr., 391 F.3d 737, 757 (6th Cir. 2004). So it’s no surprise that the Sixth Circuit

has applied privacy rights to school restrooms, showers, and locker rooms where



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students appear in their “underwear.” Brannum v. Overton Cnty. Sch. Bd., 516

F.3d 489, 495 (6th Cir. 2008); accord Adams, 57 F.4th at 805 (collecting cases).

After all, schoolchildren have at least as much privacy rights as adult prisoners to

shower, change clothes, and use the restroom without the gaze of the opposite sex.

Yet the Department incredibly says no one has a “legitimate privacy interest” in

sharing these spaces with members of the opposite sex so long as they identify as

the same sex. 89 Fed. Reg. at 33,820.

      Nothing—much less a compelling interest—justifies this intrusion on bodily

privacy. As the Supreme Court recognized in VMI, stopping sex discrimination is

perfectly consistent with “afford[ing] members of each sex privacy from the

other[.]” 518 U.S. at 550 n.19. In fact, the government’s real interest runs in the

opposite direction of the Rule. Enforcing sex-designated spaces—not destroying

them—“advances the important governmental objective” of protecting citizens’

privacy. Adams, 57 F.4th at 804–07; accord D.H. ex rel. A.H. v. Williamson Cnty.

Bd. of Educ., 638 F. Supp. 3d 821, 834–35 (M.D. Tenn. 2022).

      A.C. illustrates the point. To participate in school activities like band and

sports, she and her female classmates have to share hotel rooms, change into

skintight clothes with minimal privacy, and use the bathroom in shared spaces.

App. 093–094, A.C. Supp. ¶¶ 10–21. By introducing males into these spaces, the

Rule makes a mockery of Title IX’s promise of equal educational opportunity.

      4. Section 106.31(a)(2) is also arbitrary and capricious for numerous reasons.

      First, the Department never seriously engaged with how the Rule threatens

the privacy interests mentioned above. Supra 16–17. E.g. Texas, 2024 WL 2947022,

at *34. Defendants’ requirement that “schools must permit biological men into

women’s intimate spaces … is not only impossible to square with Title IX, but with

the broader guarantee of education protection.” Id. Yet the Department continues

to pretend biological differences are irrelevant.



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      Second, the Department failed to consider reliance interests. The Rule’s

position that schools and educators had “notice that its policy of separating male

and female bathrooms,” locker rooms, and showers “violate[d] Title IX” is

“untenable.” Adams, 57 F.4th at 816. Schools built sex-designated facilities

consistent with Title IX as they understood it for five decades. Absent relief from

this Court, schools will have to construct single-user facilities to protect student

and staff privacy. While the Department insists otherwise, this failure underscores

the inaccuracy of the Department’s compliance cost estimate.

      Third, the Department failed to explain why it requires schools to open up

all private spaces to students and staff who identify as the opposite sex, but not to

students and staff who identify as nonbinary. 89 Fed. Reg. at 33,818. This cannot

be squared with the Rule’s determination that Bostock forbids applying any sex

distinction to persons who identify as nonbinary. Id. at 33,807.

      Finally, the Rule “fails” to “answer[ ]” whether Title IX would prohibit

schools and educators from “treat[ing] a student according to [his or her] biological

sex [if] requested by the parents to do so.” Texas, 2024 WL 2947022, at *41 n.135.

This Court agrees. ECF 100 at 63–66. But parents have the fundamental right to

determine whether to affirm a student’s “gender identity” when it differs from the

child’s sex. Id. Defendants fail to recognize the “private realm of family life which

the state cannot enter[.]” Id. at 66.

      C.     The Department’s justifications are unavailing.
      To defend the Rule, the Department claims that § 106.10 is innocuous and

that the Rule will not affect sports. See ECF No. 104 at 5 (claiming § 106.10 does

not harm plaintiffs when it comes to “sex-separate facilities like bathrooms.”); ECF

No. 91 at 1 (denying Rule’s effect on sports). Neither defense holds up.




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      1. This Court and the Sixth Circuit have correctly rejected the Department’s

contention that § 106.10 causes no harm. See ECF No. 117 at 12; Tennessee, 2024

WL 3453880, at *2. The Department’s litigation position contradicts (1) its own

reasoning in the Rule’s preamble and (2) the Department’s prior positions aired

publicly and in court.

      First, the Rule itself invokes cases that have (incorrectly) read Bostock to

require schools to open restrooms and athletics based on gender identity. 89 Fed.

Reg. at 33,807 (citing, inter alia, A.C. by M.C. v. Metro. Sch. Dist. of Martinsville,

75 F.4th 760, 769 (7th Cir. 2023); Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d

586, 616 (4th Cir. 2020)); id. at 33,818 (incorporating 87 Fed. Reg. at 41,535, which

relied on, inter alia, B.P.J. v. W. Va. State Bd. of Educ., 550 F. Supp. 3d 347, 356

(S.D. W. Va. 2021)). Having used these cases to justify § 106.10, the Department

cannot plausibly maintain that § 106.10 “is not the cause of Plaintiffs’ claimed

harms[.]” ECF No. 104 at 5. The Rule must be judged on its own terms, not based

on post hoc positions. See DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 20 (2020).

      Second, the Department has spent the past three years arguing that Bostock

requires schools to open school restrooms and sports based on gender identity. In

its now-vacated 2021 guidance documents, the Department identified restrooms,

personal pronouns, and athletic teams based on biological sex as examples of

unlawful discrimination, citing Bostock. 6 And just last year, DOJ argued that

Bostock requires gender identity to control over sex in Title IX athletics. Br. for the

U.S. as Amicus Curiae in Supp. of Pl.-Appellant and Urging Reversal 27–28, B.P.J.


6 See Texas, 2024 WL 2947022, at *32–33 (vacating Enforcement of Title IX of the

Education Amendments of 1972 With Respect to Discrimination Based on Sexual
Orientation and Gender Identity in Light of Bostock v. Clayton County, 86 Fed.
Reg. 32,637 (June 22, 2021); U.S. Dep’t of Justice & U.S. Dep’t of Educ.,
Confronting Anti-LGBTQI+ Harassment in Schools: A Resource for Students and
Families (June 2021), https://perma.cc/KA47-U9LJ.



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v. W. Va. State Bd. of Educ., 98 F.4th 541 (4th Cir. 2024) (Nos. 23-1078(L), 23-

1130), 2023 WL 2859726 (“BPJ Brief”). The Department cannot whitewash its prior

positions to claim that redefining “sex” does not affect these areas.

       2. Nor are women’s sports safe from the Rule. To be sure, § 106.31(a)(2)

exempts the athletics provision at 34 C.F.R. § 106.41(b), which (the Rule claims)

will be amended in a separate rulemaking. But this Rule already affects athletics.

It does so in three moves. First, § 106.10 broadly redefines sex discrimination

throughout the Rule to include gender identity. Second, § 106.11 makes clear that

“this part” including § 106.10 “applies … to all sex discrimination occurring under

a recipient’s education program or activity …” (emphasis added). Third,

§ 106.31(a)(2) only exempts § 106.41(b), not § 106.41(a), which bans sex

discrimination “in any interscholastic, intercollegiate, club or intramural

athletics…” The net result is that § 106.10’s general default rule redefining sex still

applies to athletics, and that new default rule still applies to § 106.41(a), which

also explicitly covers athletics.

       To be sure, this Court said earlier that schools may still “separate athletic

teams for the sexes” based on the current athletic regulations in § 106.41 until the

administration’s Proposed Athletics Rule is finalized. ECF 100 at 78–79. But that

overlooks §§ 106.10 and 106.11’s broad reach; these sections would redefine sex-

based discrimination everywhere in Title IX’s regulations unless explicitly

exempted by the new Rule. And as the Court has recognized, id. at 77 n.16, the

Rule itself requires schools to open up sports based on gender identity, which

creates enormous problems for female athletes like A.C. who will face unfair

competition and be forced to tolerate males in their locker rooms.

       The Department has not disavowed this interpretation. Nor could it. Cf. ECF

100 at 25 (rejecting the Department’s effort to limit the broad effect of the “new

definition of discrimination on the basis of sex” in § 106.10 (cleaned up)). In fact,



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the Department has already interpreted § 106.41(a) incorrectly to require opening

women’s sports based on gender identity. BPJ Brief at 27-28. Sections 106.10 and

106.11 create an independent default rule doing the same while also redefining sex

in § 106.41(a) to ensure it explicitly opens sports based on gender identity. In light

of these changes imposed on athletics, Intervenors need relief against this Rule no

matter whether the administration finalizes the Proposed Athletics Rule.

II.   The Rule is contrary to the First Amendment.
      A. Students and teachers do not “shed their constitutional rights to freedom

of speech or expression at the schoolhouse gate.” Tinker v. Des Moines Indep. Cmty.

Sch. Dist., 393 U.S. 503, 506 (1969). “Tinker’s demanding standard” protects

student speech unless schools show it “materially disrupts classwork or involves

substantial disorder or invasion of the rights of others.” Mahanoy Area Sch. Dist. v.

B.L. ex rel. Levy, 594 U.S. 180, 188, 193 (2021). The First Amendment also protects

public employee speech on matters of public concern, including “gender identity”—

“a hotly contested matter of public concern,” Meriwether v. Hartop, 992 F.3d 492,

506 (6th Cir. 2021). The government bears an even “heavier burden” to justify

compelling speech. Janus v. Am. Fed’n of State, Cnty., & Mun. Emps., 585 U.S.

878, 907 (2018).

      The Rule violates these principles for two main reasons. First, the gender-

identity mandate expands the definition of “sex” to include subjective concepts like

“gender identity” and “sex stereotypes.” 89 Fed. Reg. at 33,886. The Department

doesn’t even define “gender identity,” except to say it “describe[s] an individual’s

sense of their [sic] gender.” Id. at 33,809. Second, the Rule creates an amorphous,

“broader standard” for hostile-environment claims. Id. at 33,498. Harassment need

only be severe or pervasive. Complainants need not show “any particular harm” or

denial to an educational program. Id. at 33,511. Harassment can be anything




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students consider “unwelcome” or that “limits” their ability to benefit. Id. at

33,884. And the Rule’s harassment definition applies to speech online or outside

the country. Id. at 33,535, 33,886.

      This all violates protections against overbreadth, vagueness, compelled

speech, and viewpoint discrimination. The overbreadth doctrine prohibits a law

that has “a substantial number” of unconstitutional “applications … in relation to”

its “plainly legitimate sweep.” Ams. for Prosperity Found. v. Bonta, 594 U.S. 595,

615 (2021). But the Rule forces students and teachers, like members of Christian

Educators, to use inaccurate pronouns and avoid saying sex is binary. Even the

Rule admits that “misgendering” can be considered illegal harassment. 89 Fed.

Reg. at 33,516. Plus, that harassment need not be severe. Id. at 33,498.

Pervasiveness is enough, and pronoun usage is pervasive, given its “ubiquity” in

conversation. ECF No. 100 at 52–53. Likewise, the Rule applauded punishing a

student for wearing a t-shirt saying, “THERE ARE ONLY TWO GENDERS,”

because that speech “invades the rights of others.” Id. at 33,504. So teachers

reasonably fear that nearly anything they say about sex or gender issues could be

construed as sex stereotyping or harassment. See, e.g., App. 098–099, Taylor Supp.

¶¶ 5–12; App. 103–104, McKay Supp. ¶¶ 6–14.

      Nor can the Department feign confusion about the Rule’s effect. The

Department has already filed amicus briefs saying teachers can create Title IX

liability when they refuse to use gender-identity-based pronouns. ECF No. 100 at

44–46. And just recently, DOJ argued that a school policy requiring teachers to use

gender-neutral titles like “teacher” or “coach,” but not honorifics and pronouns

based on gender identity, creates a hostile environment under Title VII. Statement

of Interest of the United States of America, Wood v. Fla. Dep’t of Educ., No. 4:23-

cv-00526., 2024 WL 3380723 (N.D. Fla. June 27, 2024). That supposed Title VII




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standard “aligns closely with the definition of hostile environment sexual

harassment” the Rule applies to Title IX. 89 Fed. Reg. at 33,474.

      The Rule is also overbroad because it requires schools to police speech far

beyond the Davis standard, which made schools liable under Title IX for deliberate

indifference to sexual harassment “so severe, pervasive, and objectively offensive

that it effectively bars the victim’s access to an educational opportunity or benefit.”

526 U.S. at 633 (emphasis added). It crafted this rule to honor First Amendment

protections, responding to the dissent’s concerns that “it would be entirely

reasonable for a school to refrain from a form of disciplinary action that would

expose it to constitutional or statutory claims” based on free speech. Id. at 649.

Jettisoning it forces teachers to police protected student speech without telling

them where the line is. See, e.g., App. 099–100, Taylor Supp. ¶¶ 14–15. The Rule’s

harassment definition sweeps up speech even off campus or outside the United

States, disregarding that courts should be “skeptical of a school’s efforts to regulate

off-campus speech, for doing so may mean the student cannot engage in that kind

of speech at all.” B.L., 594 U.S. at 189–90. So even abroad, teachers cannot express

the basic view that sex is binary. See, e.g., App. 080, Parker ¶ 32. In fact, courts

regularly invalidate harassment definitions like the Rule’s as overbroad. E.g.,

Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1114–15, 1125 (11th Cir. 2022);

Speech First, Inc. v. Khator, 603 F. Supp. 3d 480, 482, n.6 (S.D. Tex. 2022).

      Finally, the Rule imposes gag orders during harassment grievance

proceedings “to protect the privacy of the parties and witnesses.” 89 Fed. Reg. at

33,891 (34 C.F.R. § 106.45(b)(5)). But this prior restraint—which prohibits

discussing the case with the media or publicly criticizing the recipient’s handling of

the process—bears a “heavy presumption against its constitutional validity” and

requires substantive and procedural safeguards. See McGlone v. Bell, 681 F.3d 718,

733 (6th Cir. 2012). The Rule’s gag orders meet none of these requirements.



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       From overbreadth to vagueness, the latter requires laws to give “fair

warning of proscribed conduct” and disallows terms that give officials “unbridled

discretion.” Miller v. City of Cincinnati, 622 F.3d 524, 539 (6th Cir. 2010) (cleaned

up). The Rule fails. The Department’s “broader” harassment definition means

nearly any statement about gender identity—an undefined term—could subject

students or employees to harassment claims. And this Court has recognized, the

Rule’s “reliance on amorphous and undefined terms make it ‘vague and overbroad

in a way that impermissibly chills protected speech.” ECF 117 at 14.

       B. The provisions are arbitrary and capricious. The Department insists its

First Amendment disclaimers satisfy First Amendment obligations. Yet, the

Department fails to fully address the chill its new definition will cause, its lax

procedural protections, gag-order requirements, or other First Amendment issues.

III.   This Court should vacate the Rule.
       Under the APA, this Court must “set aside” agency action found unlawful. 5

U.S.C. § 706. This vacatur is “the normal remedy” under the APA, particularly

when agency action is so contrary to law that further agency explanation “cannot

rehabilitate” it. Long Island Power Auth. v. Fed. Energy Regul. Comm’n, 27 F.4th

705, 717 (D.C. 2022). And since Christian Educators has members in all fifty

states, ECF No. 21-7 at ¶ 9, vacating the Final Rule nationwide is the only way to

afford Christian Educators complete relief. Cf. Califano v. Yamasaki, 442 U.S. 682,

702 (1979) (order should “provide complete relief to the plaintiffs”). Plus, this Court

has already found irreparable harm and the public interest favoring Intervenors.

ECF No. 100 at 87–88. That conclusion still holds. So the proper remedy is to

vacate the Rule nationwide. See, e.g., Nat’l Cotton Council of Am. v. U.S. EPA, 553

F.3d 927, 940 (6th Cir. 2009) (vacating agency rule nationwide).




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      Alternatively, this Court should at least enjoin the Rule to protect A.C. and

every Christian Educators member. For A.C., the injunction should cover her

school and any school she visits through band, track, or other school-sponsored

extra-curricular activity. App. 093–094, A.C. Supp. ¶¶ 10–22 (detailing travel). For

Christian Educators, the injunction should cover each member’s school. A district

court in Kansas recently ordered similar relief, enjoining “implementation and

enforcement of the Final Rule at any school attended by a member” of plaintiff

organizations. Kansas, 2024 WL 3273285, at *21. This Court should do likewise.

      Notably, though, the Kansas court admitted how the injunction would create

“patchwork enforcement” problems, but found it “a problem of [the Department’s]

own making” when it decided to “upend[] the operations of virtually every school in

the nation by upsetting the decades-long understanding of important parts of Title

IX[.]” Kansas v. U.S. Dep’t of Educ., No. 24-4041-JWB, 2024 WL 3471331, at *4 (D.

Kan. July 19, 2024). But this underscores the need to issue the “normal [APA]

remedy” here: nationwide vacatur that avoids confusion and best protects affected

parties from harm. Long Island Power Auth., 27 F.4th at 717.

      Vacatur should also apply to the entire Rule. This Court has already rejected

the Department’s severability arguments. The Rule’s importation of Bostock

“necessarily embeds a new meaning of sex discrimination into the entire Final

Rule.” ECF No. 117 at 16. Its provisions are “inescapabl[y] interconnected[]”

because the gender-identity mandate, which “fundamentally redefines the scope

and application of Title IX,” undergirds them all. Id. at 20–21.

                                  CONCLUSION

      Intervenor-Plaintiffs respectfully request that the Court grant this motion,

vacate the Rule, or enter the requested injunction, and award judgment as a

matter of law in their favor.




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Respectfully submitted this 26th day of July, 2024.


                                       /s/ Natalie D. Thompson
Edward L. Metzger III                  Jonathan A. Scruggs*
Kentucky Bar No. 94138                 Arizona Bar No. 030505
OMEGA LAW PLLC                         Henry W. Frampton, IV*
P.O. Box 559                           South Carolina Bar No. 75314
Union, KY 41091                        Alliance Defending Freedom
(859) 898-2140                         15100 N. 90th Street
Lee@nkylaw.net                         Scottsdale, Arizona 85260
                                       (480) 444-0020
                                       (480) 444-0028 Fax
                                       jscruggs@ADFlegal.org
                                       hframpton@ADFlegal.org

                                       Rachel A. Rouleau*
                                       Virginia Bar No. 97783
                                       Alliance Defending Freedom
                                       44180 Riverside Parkway
                                       Lansdowne, Virginia 20176
                                       (571) 707-2119
                                       (571) 707-4790 Fax
                                       rrouleau@ADFlegal.org

                                       Natalie D. Thompson**
                                       TX Bar No. 24088529
                                       Alliance Defending Freedom
                                       440 First Street NW, Suite 600
                                       Washington, DC 20001
                                       (202) 393-8690
                                       (202) 347-3622 Fax
                                       nthompson@ADFlegal.org



                              Counsel for Intervenor-Plaintiffs
*Admitted pro hac vice
**Admitted pro hac vice; practice supervised by one or more D.C. Bar members while
D.C. Bar application is pending.




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                        CERTIFICATE OF SERVICE

      I hereby certify that on July 26, 2024, a copy of the foregoing document was

filed with the Clerk of Court using the CM/ECF system. I further certify that the

foregoing document was served using the CM/ECF system on all counsel of record.



                                     /s/ Natalie D. Thompson
                                     Natalie D. Thompson
                                     TX Bar No. 24088529
                                     Alliance Defending Freedom
                                     440 First Street NW, Suite 600
                                     Washington, DC 20001
                                     (202) 393-8690
                                     (202) 347-3622 Fax
                                     nthompson@ADFlegal.org




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